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                       UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
17   JENNY LISETTE FLORES; et al.,             Case No. CV 85-4544-DMG

18            Plaintiffs,
19                                             JOINT REPORT AND REQUEST
                   v.                          FOR EXTENSION OF HEARING
20
                                               DATE RE ECF NO 550;
21   WILLIAM P. BARR, Attorney
22
     General of the United States; et al.,     [Proposed] Order
23
              Defendants.
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1          On May 28, 2019, Plaintiffs filed a Motion for Award of Attorneys’ Fees

2    and Costs in the above-captioned case (ECF No. 545). Plaintiffs set that motion for
3
     hearing before the Court on June 28, 2019. The Court dismissed that motion
4
5    because Plaintiffs’ counsel failed to comply with L.R. 7-3 in advance of filing.
6
     Plaintiffs subsequently filed an amended motion (ECF No. 550) on June 7, 2019
7
8    after having complied with L.R. 7-3. The Court set the motion for hearing on July
9    5, 2019. The parties then stipulated to continue the hearing date for Plaintiffs’
10
     motion for two weeks to July 19, 2019. In granting that extension, the Court
11
12   ordered that by June 28, 2019 “one of the following must occur: (a) the parties
13
     must file a joint status report indicating whether they have settled Plaintiffs’
14
15   Motion for Attorneys’ Fees or require additional time to do so, (b) Defendants
16
     shall file a Statement of Non-Opposition to Plaintiffs’ Motion for Attorneys’ Fees,
17
18   or (c) Defendants shall file an Opposition to Plaintiffs’ Motion for Attorneys’

19   Fees.” Order, ECF No. 561.
20
           The parties hereby report that they need additional time to discuss whether
21
22   resolution of the EAJA motion will be possible with the need for further litigation.
23
     Counsel for Defendants have made an offer to counsel for Plaintiffs, and counsel
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25   for Plaintiffs has stated that he needs further time to consider that offer.
26   Accordingly, the parties ask that the Court extend the hearing date, and related
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     briefing dates, by a further two weeks so that the parties may continue these
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1    discussions. The hearing date would therefore be set for August 2, 2019. Counsel

2    for Defendants has conferred with counsel for the Plaintiffs who joins in this joint
3
     report.
4
5    DATED: June 27, 2019                   /s/ Peter Schey (with permission)__
6
                                            PETER SCHEY
                                            Center for Human Rights
7                                                  and Constitutional Law
8
                                            Attorney for Plaintiffs
9
10
     DATED: June 27, 2019                   JOSEPH H. HUNT
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                                            Acting Assistant Attorney General
12                                          Civil Division
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                                            WILLIAM PEACHEY
14                                          Director, District Court Section
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19                                          /s/ Sarah B. Fabian
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27                                          Attorneys for Defendants
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1                              CERTIFICATE OF SERVICE

2
           I hereby certify that on June 27, 2019, I served the foregoing pleading on all
3
4    counsel of record by means of the District Clerk’s CM/ECF electronic filing
5    system.
6
7
8                                                 /s/ Sarah B. Fabian
9                                                 SARAH B. FABIAN
                                                  U.S. Department of Justice
10
                                                  District Court Section
11                                                Office of Immigration Litigation
12
                                                  Attorney for Defendants
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